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            Exhibit A
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                                                                                                                                                                                                                                                                                                                                      Special
                                                                                                                                                                                                                                                                                                                                      Master
Production Bates                                                                                                                                                                                                                                                                                                                      Determinati
of Parent                                                                                                                                                                                                                                                                                        Attorneys, Legal Staff, and          ons (Priv -
Document (Folder Doc      Production        Production End                  Document     Document                                                                             Redact or                                                                                     Additional           Employees Acting at the Direction of Yes; Priv - Optional Special
Title)           Number   Beginning Bates   Bates            Custodians     Date         Time     From   To    Cc   Bcc   Subject   Original Name                             Withhold PrivilegeType      Privilege Description                                             Privilege Context    Counsel                              No)         Master Notes            Judge

                                                                                                                                                                                                          Draft document with redacted text reflecting legal advice
PRIV-APL-                 PRIV-APL-         PRIV-APL-                                                                               External Link Account Entitlement                                     from counsel regarding developer outreach related to U.S.                              Ling Lew (Apple in-house counsel)
EG_00142702        1808   EG_00142704       EG_00142709      Savio, Atusa   2023-02-09   05:02:00                                   Addendum - 2.8.2023.docx                  Withhold   AttorneyClient   Link Entitlement                                                                                                            no                                  Walsh

                                                                                                                                    Distributing reader apps with a link to                               Draft document reflecting legal advice from counsel
PRIV-APL-                 PRIV-APL-         PRIV-APL-                                                                               your website - Support - Apple                                        regarding developer outreach related to U.S. Link                                      Ling Lew (Apple in-house counsel)
EG_00142702        1809   EG_00142710       EG_00142710      Savio, Atusa   2023-02-08   22:53:37                                   Developer.pdf                             Withhold   AttorneyClient   Entitlement                                                                                                                 no                                  Walsh

                                                                                                                                                                                                          Draft document with redacted text reflecting legal advice                                                                               I don't see any
PRIV-APL-                 PRIV-APL-         PRIV-APL-                                                                               External Link Account Entitlement                                     from counsel regarding developer outreach related to U.S.                                                                               redactions by counsel
EG_00142722        1815   EG_00142725       EG_00142730      Savio, Atusa   2023-02-09   05:02:00                                   Addendum - 2.8.2023.docx                  Withhold   AttorneyClient   Link Entitlement                                                                       Ling Lew (Apple in-house counsel)    no          in my version           Walsh
                                                                                                                                                                                                          Document reflecting information for the purpose of rendering                           Ling Lew (Apple in-house counsel);
                                                                                                                                                                                                          legal advice prepared by employees acting under the                                    Sean Cameron (Apple in-house
PRIV-APL-                 PRIV-APL-         PRIV-APL-                                                                                                                                                     direction of counsel regarding foreign regulatory issues in the                        counsel); Soolean Choy (Apple in-
EG_00144533        1973   EG_00144536       EG_00144536      Tam, Mike                                                              PastedGraphic-5.png                       Withhold   AttorneyClient   Netherlands for dating apps                                                            house counsel)                       no                                  Walsh
                                                                                                                                                                                                                                                                            Document
                                                                                                                                                                                                                                                                            pertaining to
                                                                                                                                                                                                                                                                            StoreKit External
                                                                                                                                                                                                                                                                            Purchase             Ling Lew (Apple in-house counsel);
                                                                                                                                                                                                          Document providing work product from counsel regarding            Entitlement for      Sean Cameron (Apple in-house
PRIV-APL-                 PRIV-APL-         PRIV-APL-                                                                                                                                                     foreign regulatory issues in Japan, including the reader rule     apps in South        counsel); Soolean Choy (Apple in-
EG_00144533        1974   EG_00144537       EG_00144537      Tam, Mike                                                              PastedGraphic-3.png                       Withhold   WorkProduct      prepared in anticipation or furtherance of litigation             Korea                house counsel)                       no                                  Walsh
                                                                                                                                                                                                                                                                            Document
                                                                                                                                                                                                                                                                            pertaining to
                                                                                                                                                                                                                                                                            StoreKit External
                                                                                                                                                                                                                                                                            Purchase             Ling Lew (Apple in-house counsel);
                                                                                                                                                                                                          Document providing work product from counsel regarding            Entitlement for      Sean Cameron (Apple in-house
PRIV-APL-                 PRIV-APL-         PRIV-APL-                                                                                                                                                     foreign regulatory issues in Japan, including the reader rule     apps in South        counsel); Soolean Choy (Apple in-
EG_00144533        1975   EG_00144538       EG_00144538      Tam, Mike                                                              PastedGraphic-1.png                       Withhold   WorkProduct      prepared in anticipation or furtherance of litigation             Korea                house counsel)                       no                                  Walsh

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                                                                                                                                                                                                                                                                            pertaining to
                                                                                                                                                                                                                                                                            StoreKit External    Ling Lew (Apple in-house counsel);
                                                                                                                                                                                                          Document providing work product from counsel regarding            Purchase             Sean Cameron (Apple in-house
PRIV-APL-                 PRIV-APL-         PRIV-APL-                                                                                                                                                     foreign regulatory issues in the Netherlands for dating apps      Entitlement for      counsel); Soolean Choy (Apple in-
EG_00144533        1976   EG_00144539       EG_00144539      Tam, Mike                                                              PastedGraphic-2.png                       Withhold   WorkProduct      prepared in anticipation or furtherance of litigation             apps in Netherland   house counsel)                       no                                  Walsh
